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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION


 CALEB ELMORE                                                                          Plaintiff,

 v.                                                 Civil Action No. 3:18-cv-0053-JHM

 BELLARMINE UNIVERSITY,
 INCORPORATED.                                                                       Defendant.

 ______________________________________________________________________________

            AGREED STIPULATION OF DISMISSAL WITH PREJUDICE
 ______________________________________________________________________________

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Caleb Elmore and

 Defendant Bellarmine University hereby file an Agreed Stipulation of Dismissal With Prejudice

 signed by counsel for the parties and Plaintiff hereby dismisses his Complaint against Defendant

 Bellarmine University with prejudice.

 Respectfully Submitted,



 /s/ J. Kevin West____________________              /s/ Joshua Engel per email authority 03/15/2019
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